






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-09-00647-CV






Serreva Page, Appellant


v.


Texas Department of Family and Protective Services, Appellee






FROM THE DISTRICT COURT OF COMAL COUNTY, 207TH JUDICIAL DISTRICT

NO. C2005-1353A, HONORABLE CHARLES R. RAMSAY, JUDGE PRESIDING



						

M E M O R A N D U M   O P I N I O N




		Appellant Serreva Page seeks to appeal from a district court order terminating her
parental rights.  See Tex. Family Code Ann. § 263.405 (West 2008).  The order terminating
appellant's parental rights was signed and entered by the district court on November 2, 2006. 
Pursuant to subsection 263.405(a) of the family code, appellant's appeal is governed by the supreme
court rules for accelerated appeals in civil cases.  Id. §&nbsp;263.405(a).  Thus, appellant was required to
file her notice of appeal within 20 days after the district court's order was signed.  See Tex. R. App.
P. 26.1(b) (time to perfect appeal), 28.1(b) (perfection of accelerated appeal).  Our review of the
record shows that appellant did not file her notice of appeal until October 6, 2009, almost three years
after the district court's order was signed.  We conclude appellant's notice of appeal was untimely. 
Under these circumstances, we lack jurisdiction to dispose of the purported appeal in any manner
other than dismissal for want of jurisdiction.  See In re K.A.F., 160 S.W.3d 923, 926-27 (Tex. 2005);
Wilkins v. Methodist Health Care Sys., 160 S.W.3d 559, 564 (Tex. 2005).  We therefore dismiss the
appeal for want of jurisdiction.


						                                                                                   

						Jan P. Patterson, Justice

Before Justices Patterson, Puryear and Henson

Dismissed for Want of Jurisdiction

Filed:   January 15, 2010


